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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


LUPITA N. CONNOR,                   )
                                    )       Case No. CV-05-275-S-BLW
             Plaintiff,             )
                                    )       MEMORANDUM DECISION
     v.                             )       AND ORDER
                                    )
MICRON TECHNOLOGY, INC., a )
Delaware corporation, and           )
JOHN/JANE DOES I through X          )
whose true identities are presently )
unknown                             )
                                    )
             Defendants.            )
______________________________ )

                               INTRODUCTION

      The Court has before it Defendant Micron Technology Inc.’s (“Micron”)

Motion for Summary Judgment (Docket No. 21). The Court heard oral argument

on the motion on February 7, 2007. Thereafter the parties filed supplemental briefs

pursuant to the Court’s request. The Court now issues the following decision.

                                BACKGROUND

      From March 1998 until January 2004, Lupita Connor was employed at

Micron Technology, Inc. (“Micron”) in Boise, Idaho. Connor claims that


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beginning in 1998 or 1999, the “lead” of that area, John Morin, began sexually

harassing her.

      Connor claims that she received continuous sexual advances and requests for

sexual favors from Morin, including invitations to go out dancing with him.

Connor eventually agreed to go dancing with Morin sometime in approximately

2000. That night, Connor drank heavily, engaged in oral sex with Morin in his car,

and then passed out. Connor claims that she engaged in no other consensual sexual

acts with Morin, but that he continued to sexually harass her at work through

January 2003.

      On January 22, 2003 Connor’s husband called Micron and filed a sexual

harassment complaint on behalf of Connor. Micron investigated the situation and

fired Morin five days later on January 27, 2003. Micron then offered Connor a

new shift and area, but she refused. Conner later requested a transfer, and after

making several changes to try to accommodate Connor’s request, Micron

ultimately placed Connor at its Crucial Technology building in Meridian Idaho in

September 2003. Connor then requested another change so that her schedule

would not conflict with her school schedule and work schedule at another job.

      To facilitate this most recent requested change in schedule, Connor was

required to update her training. Connor’s supervisor at Crucial told Connor that


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she would need to train with John Purtill because he was in charge of training at

that time. Connor refused to train with Purtill, and Micron terminated Connor on

January 14, 2004.

                                    ANALYSIS

I.    Summary Judgment Standard

      The party moving for summary judgment has the burden of proving the

absence of any genuine issue of material fact that would allow a judgment as a

matter of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). The

evidence must be viewed in the light most favorable to the non-moving party, id. at

255, and the Court must not make credibility determinations. Id. The trial judge

must determine whether the evidence presented is such that a jury applying the

proper evidentiary standard could reasonably find for either the plaintiff or the

defendant. Id.

II.   Title VII Claims

      Although not altogether clear from Connor’s Complaint, or her briefs, it

appears that Connor is making two separate, but similar, claims under Title VII.

Connor’s first claim is a sexual harassment claim. Her second claim is a retaliation

claim. The Court will address each claim separately.

      A.     Sexual Harassment Claim


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      “An employer is subject to vicarious liability to a victimized employee for

an actionable hostile environment created by a supervisor with immediate (or

successively higher) authority over the employee.” Faragher v. City of Boca

Raton, 524 U.S. 775, 807 (1998). However, when no tangible employment action

is taken, an employer may raise an affirmative defense to liability or damages,

subject to proof by a preponderance of the evidence. Id. The Faragher defense is

available to the employer if two elements are shown: “(a) that the employer

exercised reasonable care to prevent and correct promptly any sexually harassing

behavior, and (b) that the plaintiff employee unreasonably failed to take advantage

of any preventive or corrective opportunities provided by the employer or to avoid

harm otherwise.” Id.

      With regard to the first element of the defense, “proof that an employer had

promulgated an antiharassment policy with complaint procedure is not necessary in

every instance as a matter of law.” Id. However, “the need for a stated policy

suitable to the employment circumstances may appropriately be addressed in any

case when litigating the first element of the defense.” Id. With regard to the

second element,“proof that an employee failed to fulfill the corresponding

obligation of reasonable care to avoid harm is not limited to showing an

unreasonable failure to use any complaint procedure provided by the employer,”


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bit “a demonstration of such failure will normally suffice to satisfy the employer’s

burden under the second element of the defense.” Id. at 807-08. There is an

inherent limit to the defense, it is not available “when the supervisor’s harassment

culminates in a tangible employment action, such as discharge, demotion, or

undesirable reassignment.” Id. at 808.

               1.    No Tangible Employment Action

       Connor contends that her supervisor’s1 harassment culminated in an

undesirable reassignment of being forced to work under John Purtill or suffer

termination. The undisputed facts show a different story.

       Within a week after Connor’s husband first reported to Micron that Connor

had been sexually harassed by Morin, Micron terminated Morin. (Brown Aff., Ex.

D, ¶ 6, Docket No. 22; Olsson Aff., Ex. D, Hope Depo. Pp. 33-36, Docket No. 23).

Micron then offered, but did not require, a new shift and area assignment for

Connor. Connor chose not to accept the new shift and area assignment. (Olsson

Aff., Ex. C, Seale Depo. 47-48, Docket No. 23). Conner later requested a transfer.

(Olsson Aff., Ex. C, Seale Depo. 48, Docket No. 23). After making several

changes to try to accommodate Connor’s request, including shift transfers, Micron


       1
          Micron disputes that John Morin was Connor’s supervisor. The Court need not address
this contention because even assuming he was her supervisor, Connor’s sexual harassment claim
fails as a matter of law.

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ultimately placed Connor at its Crucial Technology building in Meridian Idaho in

September 2003. (Olsson Aff., Ex. C, Seale Depo. 57; Ex. D, Hope Depo. 66-67,

Docket No. 23). Connor requested another change so that her schedule would not

conflict with her school schedule and work schedule at another job. (Brown Aff.,

Ex. E, ¶ 7, Docket No. 22).

      To facilitate this requested change in schedule, Connor was required to

update her training. Connor’s supervisor at Crucial told Connor that she would

need to train with John Purtill because he was in charge of the training at that time.

(Brown Aff., Ex. E, ¶ 7, Docket No. 22). Connor refused to train with Purtill.

(Brown Aff., Ex. E, ¶ 7, Docket No. 22). Micron therefore terminated Connor on

January 14, 2004. (Brown Aff., Ex. E, Docket No. 22).

      Connor claims that Micron created an undesirable reassignment for her by

forcing her to work under Purtill or suffer termination. Connor claims that

working under Purtill was undesirable because Purtill made “inappropriate

inquiries of John Morin with other operators around.” (Brown Aff., Ex. E, Docket

No. 22). This generic accusation, without more, is not enough to conclude that

training under Purtill was an undesirable reassignment. Moreover, as illustrated

above, Micron did not require the reassignment; Micron simply tried to

accommodate Connor’s requested transfers. The Court therefore concludes that


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there is no dispute that Morin’s harassment did not culminate in a tangible

employment action.

             2.     Micron exercised reasonable care to prevent and correct
                    promptly any sexually harassing behavior.

      Connor relies heavily on the Human Rights Commission’s Report

(“Commission’s Report”) as evidence that Micron did not exercise care to prevent

and correct promptly any sexually harassing behavior. “An EEOC letter is a highly

probative evaluation of an individual’s discrimination complaint,” and should be

admitted into evidence. Coleman v. Quaker Oats Co., 232 F.3d 1271, 1283 (9th

Cir. 2000). “Such letters, however, are not homogeneous products; they vary

greatly in quality and factual detail.” Id. The court went on to determine that

“[t]he EEOC letter in [Coleman] stated simply that The Commission’s

investigation finds reasonable cause to believe that [Quaker] has violated the

[ADEA], . . . and “[i]t is impossible from this letter to know what facts the EEOC

considered and how it analyzed them. Examining similarly conclusory EEOC

letters, other circuits have concluded that when the letters only report bare

conclusions, they have little probative value.” Id. at 1288 (internal quotations

omitted).

      In this case, the Commission’s Report contains more than bare conclusions.

It is a fairly detailed report, explaining what facts the commission considered and

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how it analyzed them. (Connor Aff., Ex. 2, Docket No. 29). It is therefore

probative and this Court will consider the facts, analysis and findings contained in

the report. The Court will not, however, simply adopt the conclusions reached in

the Commission’s Report. In fact, the Court finds that the Commission relied on

inaccurate evidence in reaching its conclusion that Micron did not exercise care to

prevent and correct promptly any sexually harassing behavior.

      The Commission’s Report acknowledges that Micron has a sexual

harassment policy, that Connor received both verbal and written information about

the policy, and that Connor attended harassment free workplace training. (Connor

Aff., Ex. 2, p. 13, Docket No. 29). These findings are supported by the evidence in

the record before this Court. (Brown Aff., Ex. C, Docket No. 22).

      The Commission’s Report also acknowledges that once Connor’s husband

complained about Morin (the first complaint ever made by or on behalf of Connor)

Micron promptly responded by investigating and terminating Morin within a

matter of days. This evidence is likewise supported by the record before this

Court. (Brown Aff., Ex. D, ¶ 6, Docket No. 22; Olsson Aff., Ex. D, Hope Depo.

Pp. 33-36, Docket No. 23).

      However, the report goes on to state that “evidence shows that [Micron]

knew of at least some of Mr. Morin’s previous acts of sexual harassment yet did


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not take appropriate corrective action at that time and did not exercise reasonable

care to prevent future harassing behavior by Mr. Morin.” (Connor Aff., Ex. 2, p.

13, Docket No. 29). Such evidence is nowhere in the report and nowhere in the

record before this Court. The record does reflect that in 1998, Morin’s supervisor

met with him regarding female employees who were concerned about Morin

getting too close to them and touching their arms, shoulders and necks. (Brown

Aff., Ex. F, Docket No. 22). However, the report reflects that the female

employees specifically noted that Morin’s behavior was not done “in a threatening

manner or in a sexual manner.” (Brown Aff., Ex. F, Docket No. 22).

Nevertheless, Micron informed Morin that the actions were inappropriate and that

if he did not stop he would be terminated. (Brown Aff., Ex. F, Docket No. 22).

There is no record of any other complaints about Morin until Connor’s husband

complained in 2003, after which, Micron terminated Morin within a matter of days.

Based on these actions, the Court finds that as a matter of law, Micron exercised

reasonable care to prevent and correct promptly the sexually harassing behavior.

The Commission’s Report to the contrary is wholly unsupported by the record

before the Court.

             3.     Connor unreasonably failed to take advantage of any
                    preventive or corrective opportunities provided by Micron
                    or to avoid harm otherwise.


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      “[W]hile proof that an employee failed to fulfill the corresponding

obligation of reasonable care to avoid harm is not limited to showing an

unreasonable failure to use any complaint procedure provided by the employer, a

demonstration of such failure will normally suffice to satisfy the employer’s

burden under the second element of the defense.” Faragher, 524 U.S. at 807-08;

see also Montero v. AGCO Corp, 192 F.3d 856, 862 (9th Cir. 1999). In this

regard, this case is strikingly similar to Montero, where the Ninth Circuit affirmed

the district court’s summary judgment finding in favor of the company, based on

the Faragher defense.

      In Montero, the plaintiff knew about her employer’s (AGCO) policy

prohibiting sexual harassment and had received several copies of it. Montero, 192

F.3d at 863. Connor likewise knew about Micron’s sexual harassment policy and

had received a copy of it along with specific sexual harassment training. (Brown

Aff., Ex. C, Docket No. 22). Additionally, in Montero, although the employee

claimed that certain individuals began sexually harassing her shortly after she

began working at AGCO in 1993, she waited almost two years to complain. Id.

When she finally did complain, AGCO’s response was swift and certain – it

investigated and terminated the perpetrators within eleven days. Id.

      Connor’s complaint was even more delayed than Montero’s complaint.


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Connor suggests that she was first sexually harassed sometime in about 1999,

approximately four years before she complained. Moreover, Micron’s response

was more swift, and just as certain, as that of AGCO – Micron investigated and

terminated Morin within five days of Connor’s complaint. Thus, like AGCO,

Micron has successfully established the second prong of the Faragher defense by

showing that Connor unreasonably failed to take advantage of the company’s

preventive and corrective opportunities earlier, although she knew of their

existence. Id.

      Accordingly, Micron has met each of the elements of the Faragher defense

and is therefore entitled to summary judgment on Connor’s Title VII sexual

harassment claim.

      B.     Retaliation Claim

      To make out a prima facie case of retaliation under Title VII, Connor must

demonstrate that “(1) she engaged in a protected activity, (2) she suffered an

adverse employment action, and (3) there was a causal link between her activity

and the employment decision.” Stegall v. Citadel Broadcasting Co., 350 F.3d

1061, 1065-66 (9th Cir. 2003). If Connor establishes a prima facie retaliation

claim, the familiar burden-shifting scheme set out in McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973) applies. Cornwell v. Electra Cent. Credit Union,


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439 F.3d 1018, 1035(9th Cir. 2006). Under McDonnell Douglas, once Connor

makes out a prima facie retaliation case, the burden shifts to Micron to articulate

some legitimate, non-retaliatory reason for the challenged action. If Micron

meets its burden, Connor must then show that the articulated reason was merely a

pretext for a retaliatory motive.

      Connor argues that she was terminated because she reported sexual

harassment to Micron. However, Connor cites nothing in the record to support her

assertion that there was a causal link between her sexual harassment claim and her

termination. The closest Connor comes to providing evidence of causation is

reference to the Commission’s Report. However, even the Commission’s Report

found “no probable cause to believe that [Micron] retaliated against [Connor].

(Connor Aff., Ex. 2, p. 15, Docket No. 29). Thus, Connor has not met her burden

of establishing a prima facie case of retaliation. Specifically, Connor has not

shown a causal link between her sexual harassment claim and her termination.

      Moreover, even if Connor had established a prima facie retaliation claim,

Micron has met its burden of articulating a legitimate, nondiscriminatory reason for

terminating Connor. As noted above, Micron terminated Connor because she

refused to attend her training sessions. (Brown Aff., Ex. E, Docket No. 22). The

burden then shifts to Connor to show that the articulated reason was merely a


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pretext for a discriminatory motive. Connor has not even attempted to make such

an argument. Accordingly, the Court will also grant summary judgment in favor of

Micron on Connor’s Title VII retaliation claim.

III.   IHRA Claims

       The Idaho Supreme Court has held that the IHRA will be interpreted in a

manner consistent with the ADA and Title VII. See Foster v. Shore Club Lodge,

908 P.2d 1228, 1232-33 (1995); see also Bowles v. Keating, 606 P.2d 458, 461-62

(Idaho 1979). Thus, based on the above analysis, the Court will also grant

summary judgment in favor of Micron on Connor’s IHRA claim.

IV.    State Law Claims

       Having dismissed Connor’s Title VII claims, this Court no longer has

original jurisdiction in this matter pursuant to 18 U.S.C. § 1331. This Court will

therefore exercise its discretion to decline jurisdiction over Connor’s state law

claims.2

                                            ORDER

       NOW THEREFORE IT IS HEREBY ORDERED that Defendant Micron’s


       2
          The parties indicated that Idaho courts have not addressed whether Idaho’s Worker’s
Compensation is the exclusive remedy for a claim such as Connor’s negligent supervision claim.
The Court points the parties to Doe v. Albertson’s, 112 P.3d 812, 818-19 (Idaho 2005) for their
edification. This case may not directly answer the question, but it does give a good indication of
how Idaho Courts may rule on such an issue.

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Motion for Summary Judgment (Docket No. 21) shall be, and the same is hereby,

GRANTED.

      The Court will enter a separate Judgment as required by Federal Rule of

Civil Procedure 58.

                             DATED: March 27, 2007




                              Honorable B. Lynn Winmill
                              Chief U. S. District Judge




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